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  15   SURE HEAT MANUFACTURING, INC. and
       SHM INTERNATIONAL CORPORATION
  16
  17                  IN THE UNITED STATES DISTRICT COURT
  18                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  19                             SOUTHERN DIVISION
  20   CONTINENTAL APPLIANCES,    )            Case No. SACV 11-01544-JVS (JPRx)
       INC., a California corporation,
                                  )
  21                              )
                                  )            ORDER CONFIRMING
  22                Plaintiff,    )            DISMISSAL WITH PREJUDICE
                                  )
  23         v.                   )
                                  )
  24   SHM INTERNATIONAL          )
       CORPORATION, a Georgia     )
  25   corporation, and SURE HEAT )
       MANUFACTURING, INC.,       )
  26   a Georgia corporation,     )
                                  )
  27                Defendants.   )
                                  )
  28   AND RELATED COUNTERCLAIMS )             Honorable James V. Selna
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   1              The Court, having considered the parties’ stipulated dismissal pursuant to
   2   Federal Rule of Civil Procedure 41(a)(1)(ii), and for good cause shown,
   3              IT IS HEREBY ORDERED that the Court confirms that this action is
   4   dismissed with prejudice, each party shall bear its own costs, expenses, and
   5   attorneys’ fees, and the Court shall retain jurisdiction to enforce compliance
   6   with the parties’ settlement agreement.
   7
   8              IT IS SO ORDERED.
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  11   Dated: December 04, 2012
                                           Honorable James V. Selna
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